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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    (Richmond Division)

     In re:
                                                          Chapter 7
     LECLAIRRYAN PLLC,
                                                          Case No. 19-34574 (KRH)
                          Debtor.
                                                          Ref. Docket Nos. 533, 811, 816


         OBJECTION OF ULX PARTNERS, LLC AND UNITEDLEX CORPORATION
              TO CONSUMMATION OF PROPOSED FAO SETTLEMENTS1

              ULX Partners, LLC (“ULXP”) and UnitedLex Corporation (“UnitedLex” and together

 with ULXP, the “Objectors”), both parties-in-interest, by and through undersigned counsel, hereby

 object (the “Objection”) to consummation of the Proposed FAO Settlements (as defined herein) filed

 by Lynn L. Tavenner, in her capacity as the Chapter 7 trustee (the “Trustee”) of the bankruptcy




 1
   Notwithstanding arguments to the contrary, this Objection is the first substantive issue in the
 Debtor’s bankruptcy case in which UnitedLex appears and participates. Accordingly, this
 Objection should not be construed to alter, modify or in any way impact the defenses raised by
 UnitedLex in Defendants’ Motion to Withdraw the Reference and Memorandum in Support
 Thereof [Adv. Pro. No. 20-03142-KRH, ECF No. 13], Defendants’ Reply Memorandum in Support
 of Their Motion to Withdraw the Reference [Adv. Pro. No. 20-03142-KRH, ECF No. 21], or
 Defendants Objection to the Bankruptcy Court’s Proposed Findings of Fact and Conclusions of
 Law [Adv. Pro. No. 20-03142-KRH, ECF No. 35], and UnitedLex reserves all rights set forth in
 the foregoing pleadings without waiving any of its defenses raised in connection with claims
 asserted against it in the Adversary Proceeding (defined below).
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 estate (the “Estate”) of LeClairRyan, PLLC (“LeClairRyan” , “LCR”, or the “Debtor”) in the

 above-captioned case. In support of this Objection, the Objectors state as follows:

                                              Introduction

         This Court approved the FAO Action Procedures – prepared and proposed by the Trustee,

 herself – to govern a streamlined process by which the Trustee, on behalf of the Estate, could pursue

 and attempt to resolve claims against certain parties. Unable to consensually resolve an FAO Action

 with the Trustee, the Objectors, one of which is one of the Estate’s largest creditors, are defendants to

 a pending adversary proceeding captioned as Lynn L. Tavenner v. ULX Partners, LLC and

 UnitedLex Corporation, Adv. Case No. 20-03142-KRH (Bankr. E.D. Va.) (the “Adversary

 Proceeding”), wherein the Trustee alleges, inter alia, that the Objectors conspired with certain

 former employees of the Debtor to engage in and carry out acts that allegedly damaged the Debtor

 and seeks in excess of $140 million in damages.

         The Trustee has also apparently initiated demands against various former LCR attorneys – the

 details of which have not been disclosed by the Trustee to date. Nevertheless, the Trustee has

 apparently reached a settlement with at least 37 different individuals as indicated in her Notice of

 Proposed FAO Settlements [Docket No. 811] and the Public Notice [Docket No. 816] -- all of whom

 are believed to be former LCR attorneys, and at least two of which have been identified by the Trustee

 as alleged co-conspirators of the Objectors. The Trustee has not disclosed any terms of the proposed




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 settlements to the Objectors, despite their obvious interest in such settlements as a creditor (ULXP)

 and as defendants in the Adversary Proceeding.2

        Pursuant to the FAO Procedures Order, the Trustee filed certain Settlement Notices of

 Proposed FAO Settlements indicating the above-referenced settlements. The proposed settlements

 were filed under seal, however, as each of the FAO Defendants must have required confidentiality in

 their settlements because the FAO Procedures Order provides that “[t]o the extent a particular FAO

 Defendant requires as part of any Proposed FAO Settlement that the same be subject to a protective

 order of [the] Court . . . .” (FAO Procedures Order, ¶4). The FAO Procedures Order does not provide

 for any exceptions or other conditions to apply, nor does it allow for filing under seal due to the

 Trustee’s desire for confidentiality. The same paragraph, however, also mandates that the Trustee

 provide a copy of such Settlement Notice to parties that deliver a written request for the same and

 agree to maintain the confidentiality of the Settlement Notice. (Id.).

        Therefore, in accordance with paragraph 4 of the FAO Procedures Order, the Objectors timely

 sent a written request to Trustee’s counsel on April 16, 2021 for a copy of the Sealed Notice of

 Proposed FAO Settlements, which request explicitly provided that the Objectors and their counsel

 would maintain the confidentiality of the information in the notice. Based on her unilateral (and

 baseless) discretion, the Trustee’s counsel responded on April 22, 201 that the Trustee, “in the




 2
  Significantly, the approved FAO Action Procedures include a form of settlement agreement with
 an option whereby the Trustee agrees not to pursue claims against the subject FAO Defendant in
 exchange for the FAO Defendant’s cooperation in connection with matters related to the Debtor’s
 bankruptcy case; this could include serving as a witness for the Trustee in the Adversary Proceeding.
 The Trustee is withholding this information from the Objectors.


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 exercise of her business judgment, maintains that it is not in the Estate’s best interest to provide

 confidential settlement documents to Persons who are involved in litigation with the Estate . . . .”

        The Trustee’s withholding of such information is unjustified, contrary to the express

 provisions of the FAO Procedures Order, and contrary to fundamental principles underlying

 Bankruptcy Rule 9019 and the discovery process. The Objectors file this Objection due to the

 Trustee’s improper and unauthorized refusal to comply with the FAO Procedures Order and seek

 relief from the Court to gain access to information so that the Objectors can determine whether they

 object to the terms of the proposed settlements.

                                        Relevant Background

        1.      On September 3, 2019, the Debtor filed a voluntary petition for relief under chapter

 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

 Court for the Eastern District of Virginia, Richmond Division (the “Court”).

        2.      On October 4, 2019, the case was converted to a case under chapter 7 of the

 Bankruptcy Code, and the Trustee was appointed [Docket Nos. 140, 154].

        3.      On May 14, 2020, the Trustee moved the Court to, among other things, establish

 procedures (the “FAO Action Procedures”) to govern the process by which the Trustee, on behalf

 of the Estate, could prosecute and settle, or otherwise resolve, disputes related to causes of actions

 for matters involving (a) former attorneys of LeClairRyan and/or entities to which any

 transitioned, (b) parties receiving transfers for the benefit of former attorneys of LeClairRyan

 and/or entities to which any transitioned, (c) ULXP, (d) parties receiving transfers for the benefit

 of ULXP, (e) UnitedLex, (f) parties receiving transfers for the benefit of UnitedLex, and/or (g)

 parties, including insurance companies providing fiduciary or similar services to LeClairRyan

 and/or any of its former attorneys [Docket No. 457].




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        4.         On June 15, 2020, the Court entered its Order Approving Procedures and

 Permitting Trustee to Prosecute and Compromise FAO Actions [Docket No. 533] (the “FAO

 Procedures Order”).3

        5.         On April 12, 2021, in accordance with paragraph 4 of the FAO Procedures Order,

 the Trustee filed a notice of Proposed FAO Settlements under seal [Docket No. 811] (the “Sealed

 Notice of Proposed FAO Settlements”).

        6.         On April 15, 2021, the Trustee filed a separate notice [Docket No. 816] (the “Public

 Notice”) to publicly announce the filing of the Sealed Notice of Proposed FAO Settlements and

 disclose the identities of the FAO Defendants that entered into the Proposed FAO Settlements.

        7.         Paragraph 4 of the FAO Procedures Order states, “To the extent a particular FAO

 Defendant requires as part of any Proposed FAO Settlement that the same be subject to a protective

 order of this Court, the Settlement Notice shall be (a) filed with this Court under seal and (b)

 provided to the Interested Parties only upon written receipt by Paula S. Beran, Esquire at

 pberan@tb-lawfirm.com of a commitment of Interested Party to keep such information

 confidential.”4

        8.         In accordance with paragraph 4 of the FAO Procedures Order, on April 16, 2021,

 undersigned counsel, on behalf of the Objectors as Interested Parties, emailed counsel to the



 3
  Capitalized terms used but not defined herein shall have the meanings given to them in the FAO
 Procedures Order.
 4
   As set forth in 4(C) of the FAO Action Procedures, “Interested Parties” means, “(i) the Office of
 the United States Trustee, (ii) the 20 largest unsecured creditors as listed on the Debtor’s schedules,
 and (iii) any other party who makes a written request to Paula S. Beran, Esquire . . . .” As the
 Objectors, through their counsel, made a written request to Trustee’s counsel, Paula S. Beran,
 Esquire for service of Settlement Notices, including the Sealed Notice of Proposed FAO
 Settlements, the Objectors should be considered “Interested Parties”. In addition, ULXP is one of
 the largest unsecured creditors of the Estate.



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 Trustee requesting to be provided with a copy of all Settlement Notices filed in the case (including

 the Sealed Notice of Proposed FAO Settlements) and specifically providing that undersigned

 counsel as well as the Objectors would maintain the confidentiality of the information therein.5

        9.      Notwithstanding the fact that paragraph 4 of the FAO Procedures Order does not

 provide the Trustee with discretion to refuse to provide Settlement Notices to an Interested Party

 that satisfies the condition set forth therein, on April 22, 2021 the Trustee’s counsel responded to

 the Objectors’ request, stating:

        The Trustee, in the exercise of her business judgment, maintains that it is not in the Estate’s
        best interest to provide confidential settlement documents to Persons who are involved in
        litigation with the Estate and, as such, will be asking the Court to modify what we maintain
        is an unintended nuance of the procedures. If the Court disagrees or does not otherwise
        modify, the Trustee, of course, will follow the Court’s direction.

        10.      The Trustee’s refusal to comply with the FAO Procedures Order has necessitated

 this Objection, as the Objectors are currently unaware of the proposed terms of the Proposed FAO

 Settlements set forth in the Sealed Notice of Proposed FAO Settlements and reserve all rights and

 objections with respect thereto.

                                               Objection

        11.     In providing a written request to Trustee’s counsel for a copy of the Sealed Notice

 of Proposed FAO Settlements and committing to maintain the confidentiality of the relevant

 information for each Proposed FAO Settlement, the Objectors satisfied the requisite condition to

 receive a copy of such notice. Under the FAO Procedures Order, the Trustee is, therefore, required

 to provide a copy, but has disobeyed the Court’s FAO Procedures Order and refused to provide a

 copy on the grounds that it is not in the Estate’s best interest due to the parties’ involvement in the




 5
  A copy of the Objectors’ request for receipt of a copy of the Sealed Notice of Proposed FAO
 Settlements sent to counsel to the Trustee on April 16, 2021 is attached as Exhibit 1.


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 Adversary Proceeding. Notwithstanding her position, the Trustee has no basis to withhold the

 requested information.

        12.     As an initial matter, Bankruptcy Rule 9019 requires transparency. See In re Big

 Apple Volkswagen, LLC, 571 B.R. 43, 56-57 (S.D.N.Y. 2017) (“Bankruptcy Rule 9019 . . . has a

 clear purpose to prevent the making of concealed agreements which are unknown to the creditors

 and unevaluated by the court . . . Rule 9019(a) . . . guarantees transparency in the process of

 compromise or settlement and provides other creditors an opportunity to voice their concerns.

 While compromise is favored in bankruptcy, Rule 9019(a) operates as an important check on the

 process, ensuring that any compromise or settlement will be effective only after it is disclosed to

 other creditors and reviewed by the bankruptcy court.”) (internal quotations and citations omitted);

 Ferrone v. RPP, LLC (In re RPP, LLC), 547 B.R. 158, 164 n.5 (Bankr. W.D. Pa. 2016) (“The

 procedure for court approval of a settlement set forth in Fed. R. Bankr. P. 9019 is for the purpose

 of full disclosure.”) (citing In re Martin, 91 F.3d 389, 394-95 (3d Cir. 1996)); In re Panache

 Cuisine, LLC, No. 13-17027-JS, 2013 WL 5350613, at *4 (Bankr. D. Md. Sept. 23, 2013) (“In

 order to have the bankruptcy court approve the settlement of a controversy, Rule 9019(a) requires

 the filing of a motion, the giving of proper notice of the settlement to interested parties, the

 disclosure of the settlement terms, and the opportunity for a hearing.”) (emphasis added). The

 FAO Procedures Order recognized this policy by providing a mechanism by which parties could

 receive and review the terms of proposed settlements, even those filed under seal. While it is the

 Court that is charged with evaluating the merits of any Proposed FAO Settlement, ULXP, as one

 of the Estate’s largest creditors, has a vested interest in ensuring that settlements of actionable

 claims are appropriate, fair, and reasonable. See generally In re Big Apple Volkswagen, LLC, 571

 B.R. at 57; see also In re Barbieri, No. 00-22274-478, 2009 WL 5216963, at *9, *12 (Bankr.




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 E.D.N.Y. Dec. 29, 2009) (declining to approve a proposed settlement agreement where, inter alia,

 a creditor challenged the proposed settlement on the basis that the contract underlying the claim

 being settled was invalid and, even if the contract was valid, the proposed settlement amount

 exceeded the amount of provable damages).

        13.     Despite the objective of full disclosure underlying Bankruptcy Rule 9019, the

 Trustee seeks to invoke a “litigation privilege” that gives her sole discretion to decide what

 information to share when the Estate is engaged in litigation.6 In other words, the Trustee is

 improperly seeking to engage in a trial by ambush – providing only the information of her choosing

 at her sole discretion. See Lamonds v. General Motors Corp., 34 F.Supp.2d 391, 396 (W.D. Va.

 1999) (“The Federal Rules of Civil Procedure in part work to ensure that civil trials seek out the

 truth. This important goal is served by ending trial by ambush . . . .”); Mente Chevrolet Oldsmobile

 Inc. v. GMAC, 728 F.Supp.2d 662, 682 (E.D. Pa. 2010) (“To assess whether undisclosed, purported

 impeachment evidence should be admitted, a court considers the intent of the disclosure

 requirement in Federal Rule of Civil Procedure 26. This rule ‘was adopted to end two evils that

 had threatened civil litigation: expensive and time-consuming pretrial discovery techniques and

 trial-by-ambush.’”) (quoting Hayes v. Cha, 338 F.Supp.2d 470, 503 (D.N.J. 2004)).

        14.     As the Court is well aware, the Trustee commenced the Adversary Proceeding

 against the Objectors through which the Trustee alleges damages in excess of $140 million based

 on alleged claims of, among others, conspiracy and aiding and abetting a breach of fiduciary duty.

 More specifically, the Trustee alleges that “[f]rom at least until in or around 2017 to until or around

 2019, the Defendants and one or more of the LCR Officers and Directors acted in concert, agreed,



 6
   The very fact that the Trustee cites the pending litigation as the basis to withhold the Sealed
 Notice of Proposed FAO Settlements from the Objectors confirms the relevance of the information
 to such pending litigation, and thus, its discoverability.

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 associated, mutually undertook, or combined to accomplish, by concerted action, unlawful, illegal

 and oppressive acts that caused injury and damage to the Debtor and creditors of the Debtor.”

 (Adv. Pro. ECF No. 4, ¶¶286, 297).

        15.     When asked in discovery to identify the persons with whom the Trustee contends

 the Objectors “acted in concert, agreed, associated, mutually undertook, or combined to

 accomplish, by concerted action, unlawful, illegal, and/or oppressive acts that caused damage to

 the Debtor and the creditors of the Debtor, as alleged in Paragraph 297 of the Complaint,” the

 Trustee identified more than thirty (30) people, including two people who are also FAO

 Defendants identified in the Public Notice. Thus, although the Trustee has apparently settled with

 at least two alleged co-conspirators, she is refusing to provide the Objectors with information

 regarding such proposed settlements despite the fact that the Objectors are entitled to know the

 terms of the Trustee’s deal as part of discovery in the Adversary Proceeding.

        16.     The Objectors have an obvious interest in knowing the terms of the proposed

 settlements with the two alleged co-conspirators and other FAO Defendants. By way of example,

 and without limitation, the proposed settlements may include cooperation provisions through

 which the settling FAO Defendants have agreed to cooperate with the Trustee in her litigation

 against the Objectors.7 A witness’s motivations and incentives speak to credibility and bias, and

 the Objectors are entitled to discover such information. See Liles v. Contreras, 547 S.W.3d 280,

 289 (Tex. Ct. App. 2018) (“Settlement agreements are discoverable for many reasons, including

 demonstrating bias or prejudice of a party or potential witness.”); In re Touch America Holdings,

 Inc., No. 14-50664 (KJC), 2015 WL 6460260, at *2, *13 (Bankr. D. Del. Oct. 26, 2015) (denying




 7
  See Section 3.a. (“Covenant to Cooperate”) in the form of Settlement Agreement attached as
 Exhibit B to the FAO Action Procedures.


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 a motion to quash discovery requests related to an adversary proceeding defendant’s settlement

 with a former co-defendant because Federal Rule of Civil Procedure 26, applicable to the

 bankruptcy proceeding by Bankruptcy Rule 7026, permits parties to “obtain discovery regarding

 any nonprivileged matter that is relevant to any party's claim or defense” and acknowledging that

 “[Federal Rule of Evidence] 408[(b)] specifically allows settlement information to be used in

 asserting the bias or prejudice of a witness.”). In other words, the Objectors are entitled to know

 what the FAO Defendants have been promised by the Trustee, if/how they agreed to cooperate

 with the Trustee, and the reasons for any tradeoff between monies returned to the Estate and

 cooperation.

        17.     In discovery in the Adversary Proceeding, ULXP requested that the Trustee

 produce, “all documents reflecting communications with any former LeClairRyan Employees

 discussing, evidencing, referring to or relating to UnitedLex, ULXP, and/or the allegations in the

 Complaint.” In her January 18, 2021 objections, the Trustee objected to the request on the grounds

 that is was vague and overly broad, but stated that the “Trustee will subsequently provide her

 response to this Request and produce or make available non-privileged, responsive documents, to

 the extent they exist and are in her possession, custody, or control.” Plaintiff’s Objections to

 Defendant ULX Partners, LLC’s First Request for Production of Documents to Plaintiff at 22.8

 Similarly, in her March 19, 2021 written responses, the Trustee again reiterated that she would

 produce documents responsive to this request. See Plaintiff’s Responses and Objections to

 Defendant ULX Partner, LLC’s First Request for Production of Documents to Plaintiff at 9.




 8
  The Objectors can provide copies of Plaintiff’s Objections to Defendant ULX Partners, LLC’s
 First Request for Production of Documents to Plaintiff, as well as Plaintiff’s Responses and
 Objections to Defendant ULX Partner, LLC’s First Request for Production of Documents to
 Plaintiff, as necessary.


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 Significantly, the Trustee did not object to this request on any other grounds; therefore, all other

 objections have been waived and the Trustee must provide full and complete responses, which

 would include the referenced settlement agreements.9          The Trustee cannot now attempt to

 essentially re-write her objections and withhold such information.

        18.     Furthermore, the Trustee also alleges that ULXP was an “insider of the Debtor, who

 exercised dominion and control over the Debtor.” (Adv. Pro. ECF No. 4, ¶¶195, 223, 262). Thus,

 it is possible that some of the FAO Defendants may have relevant information regarding the

 allegation and could serve as witnesses for the Trustee in the Adversary Proceeding. Accordingly,

 the Objectors are entitled to discover the relevant FAO Defendants’ interactions with the Trustee

 and any deals the Trustee has reached with any such parties. See ¶16, supra. If deprived of such

 information, and the relevant FAO Defendants provide witness testimony in the Adversary

 Proceed, the Objectors will be severely prejudiced with respect to, inter alia, challenging the

 credibility of their testimony.

        19.     The Trustee’s refusal to provide the Objectors with a copy of the Sealed Notice of

 Proposed FAO Settlements should not be permitted by the Court. Without the opportunity to

 review the Sealed Notice of Proposed FAO Settlements, the Objectors are unable to evaluate the

 substance and potential merits of the Proposed FAO Settlements. Accordingly, the Objectors

 object to the Trustee proceeding with final consummation of the Proposed FAO Settlements for

 the FAO Defendants identified in the Public Notice.




 9
   The Objectors reserve all rights with respect to this discovery request, including the right to file
 a Motion to Compel as may be necessary. In addition, the Objectors reserve the right to seek
 recovery of attorneys’ fees and costs in connection with this Objection and any Motion to Compel.

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                       Waiver of Memorandum of Points and Authorities

        20.     The Objectors respectfully request that this Court find that this Objection satisfies

 the requirement for a written memorandum of points and authorities as described in Local

 Bankruptcy Rule 9013-1(G) or otherwise waive such requirement.

                                            Conclusion

        WHEREFORE, for the reasons set forth in this Objection, the Objectors request that the

 Court (i) direct the Trustee to provide the Objectors with a copy of the Sealed Notice of Proposed

 FAO Settlements, (ii) grant the Objectors (a) an additional 15 days from the date of receipt of the

 Sealed Notice of Proposed FAO Settlements to evaluate the Proposed FAO Settlements and (b) an

 opportunity to file an objection to any of the Proposed FAO Settlements prior to the expiration of

 the same 15-day period, and (iii) provide such other relief as may be just and appropriate.



                                     [Signature Page Follows]




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 Dated: April 27, 2021                         __/s/ Thomas J. McKee, Jr.____________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of April 2021, I caused a true and correct copy of
 Objection of ULX Partners, LLC and UnitedLex Corporation to Consummation of Proposed FAO
 Settlements to be served (i) via electronic mail on (a) Paula S. Beran, Esq. (pberan@tb-
 lawfirm.com), (b) Erika L. Morabito (emorabito@foley.com) and Brittany J. Nelson
 (bnelson@foley.com), and (c) Kathryn R. Montgomery, Esq. (Kathryn.Montgomery@usdoj.gov).


                                                    __/s/ Thomas J. McKee, Jr._____________
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